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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

  HALOZYME, INC.

                           Plaintiff                 Civil Action No. 1:16-CV-01580 (CMH/JFA)

            v.

  JOSEPH MATAL,
  performing the functions and duties of Under
  Secretary of Commerce for Intellectual
  Property and Director of the United States
  Patent and Trademark Office,

                           Defendant.


                               DEFENDANT’S MOTION IN LIMINE

           Pursuant to the Federal Rules of Evidence, defendant, Joseph Matal, performing the

 functions and duties of Under Secretary of Commerce for Intellectual Property and Director of

 the United States Patent and Trademark Office, by his undersigned counsel, hereby moves this

 Court for an order in limine to preclude plaintiff Halozyme, LLC, from the following at the

 upcoming trial of this cause:

          Adducing any expert witness testimony, or introducing any other expert evidence, from
           Dr. Bruno Flamion, Dr. Samuel Zalipsky, and Mr. Jon S. Saxe, relating to commercial
           success or commercial acquiescence.

          Adducing any expert witness testimony, or otherwise asserting any argument, concerning
           whether the relevant claims of U.S. Patent Application No. 11/238,171 find written
           description support in the specification of U.S. Patent Application No. 11/065,716, other
           than that which was included in the expert reports of Dr. Samuel Zalipsky.

 The grounds for this motion are fully explicated in the accompanying memorandum of law in

 support of the motion.

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                                           Respectfully submitted,

                                           DANA J. BOENTE
                                           UNITED STATES ATTORNEY

                                    By:    ______/s/___________________
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 DATE: October 27, 2017                    ATTORNEYS FOR DEFENDANT

 OF COUNSEL:

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 United States Patent & Trademark Office
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
 Court using the CM/ECF system, which will send a notification of such filing (“NEF”) to the
 following:

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 Date: October 27, 2017                        ___/s/___________________________
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